                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE



UNITED STATES OF AMERICA,                             )
                                                      )
v.                                                    )      No. 3:04-CR-93
                                                      )      (Phillips)
ROY HILL                                              )


                                        ORDER

             This matter is before the court on defendant’s pro se motion to reduce

sentence. The court commends defendant for his rehabilitive efforts while incarcerated;

however, the court no longer has jurisdiction to reduce defendant’s term of imprisonment,

see Fed.R.Civ.P. 35. Accordingly, defendant’s pro se motion to reduce sentence [Doc. 82]

is DENIED.



                                         ENTER:


                                               s/ Thomas W. Phillips
                                             United States District Judge




Case 3:04-cr-00093-TAV-CCS       Document 83      Filed 02/23/07   Page 1 of 1    PageID
                                       #: 66
